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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

JOHNSON & JOHNSON HEALTH CARE              §
SYSTEMS INC.,                              §
                                           §
                 Plaintiff,                §
                                           §
                    v.                     §
                                           §
DOROTHY FINK, Acting Secretary of Health   §
and Human Services, et al.,                §      Case No. 1:24-cv-3188-RC
                                           §
                Defendants.                §
                                           §
                                           §
                                           §
                                           §
                                           §
                                           §
                                           §


    340B HEALTH, UMASS MEMORIAL MEDICAL CENTER, AND GENESIS
                      HEALTHCARE SYSTEM’S
         MEMORANDUM IN SUPPORT OF MOTION TO INTERVENE
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       340B Health, UMass Memorial Medical Center (UMass), and Genesis HealthCare System

(Genesis) (collectively the Proposed Intervenors) move this Court, pursuant to Federal Rule of

Civil Procedure 24(a), or in the alternative pursuant to Federal Rule of Civil Procedure 24(b), for

an Order granting their Motion to Intervene as Defendants in this lawsuit.

       The 340B Program, established by section 340B of the Public Health Service Act, 42

U.S.C. § 256b, requires, as a condition of participating in Medicaid and Medicare Part B, that

pharmaceutical manufacturers sell outpatient drugs at a substantially discounted price to certain

public and not-for-profit hospitals, community health centers, and other federally funded clinics

that serve communities with a large numbers of low income patients (340B Providers, described

in the statute as “covered entities”) in order to increase the funding these entities have available to

meet the needs of their patients. Proposed Intervenor 340B Health is an association with 1,600

member hospitals that are eligible to receive benefits under the 340B program (340B hospitals).

Proposed Intervenors UMass and Genesis (the Proposed Hospital Intervenors) are 340B hospitals.

       Since the beginning of the 340B Program in 1992, 340B Providers have purchased eligible

340B drugs from drug manufacturers, including Plaintiff Johnson &Johnson Health Care Systems

Inc. (J&J), at the 340B discounted price. On August 23, 2024, J&J announced it would

fundamentally alter the way it participates in the 340B Program by changing its pricing program

to a rebate model for two of its most expensive 340B drugs, STELARA and XARELTO. Instead

of providing the discount to 340B hospitals when they purchase these eligible 340B drugs, which

has been the practice of J&J and every other pharmaceutical company that participates in the 340B

Program since its inception, J&J announced that it would now require 340B hospitals to purchase

STELARA and XARELTO at full price, submit a claim for rebate, and then wait for J&J to provide

a rebate. This change requires 340B hospitals to initially purchase these drugs at non-340B prices,




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resulting in higher costs for hospitals to maintain their drug inventory. In order to claim the rebate,

340B hospitals would be required to collect and provide claims data to J&J, effectively imposing

a new data collection and reporting requirement that appears nowhere in the 340B statute. A third-

party contractor employed by J&J would then determine, based on unclear criteria, whether the

340B hospital is entitled to a rebate on each of those 340B drugs. If that contractor determines that

the 340B hospital is not entitled to a rebate, then in order to challenge that decision, the 340B

hospital would be required to appeal that decision to a J&J team member. If J&J denies the appeal,

the 340B hospital could seek redress through the statutorily created Administrative Dispute

Resolution (ADR) Process implemented by the Health Resources and Services Administration

(HRSA), the Department of Health and Human Services (HHS) agency tasked with implementing

the 340B Program. The 340B hospital could then appeal an unfavorable ADR decision to the

federal courts. However, participation in the ADR and federal court appeals process would likely

require the retention of outside counsel and hundreds of thousands of dollars in legal fees. Desai

Declaration at ¶ 20. This entire process would take several months to years from the 340B

hospital’s submission of the original claim for rebate, and there is nothing in J&J’s proposed rebate

model or in the ADR process that discourages improper denials by J&J or the third-party

contractor.

       Apparently emboldened by J&J’s announcement, four other drug companies, Sanofi-

Aventis U.S. LLC, Eli Lilly and Company, Novartis Pharmaceuticals Corporation, and Bristol

Myers Squibb, recently announced their intentions to adopt a rebate program that would, under

some of their policies, apply to all of the companies’ drugs. More pharmaceutical companies are

likely to follow, increasing the number of rebate models—and the resulting burdens—with which

340B hospitals would be forced to comply. Additionally, if J&J is permitted to implement its

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proposed rebate model, it will almost certainly expand the model to apply to every drug it sells in

the 340B program. That is exactly what happened four and a half years ago when a single drug

company announced it would restrict the number of pharmacies that covered entities could contract

with to distribute one of its 340B drugs. While the restriction was initially limited in scope, that

company then expanded the limitation to cover all of its drugs, and thirty-eight additional drug

companies followed with similar restrictions.1

       Plaintiff’s Complaint seeks judicial approval of a rebate model that would place a

significant burden on the Proposed Hospital Intervenors and members of Proposed Intervenor

340B Health and deny those 340B hospitals the substantive benefit of the 340B Program: prompt

access to drugs at a discounted price. HRSA has informed J&J that the proposed rebate model is

unlawful. Letter from Carole Johnson, Administrator, HRSA, to Joaquin Duato, Chairman and

Chief Executive Officer (Sept. 17, 2024) (Dkt. No 1-9); Letter from Carole Johnson,

Administrator, HRSA, to Joaquin Duato, Chairman and Chief Executive Officer (Sept. 27, 2024)

(Dkt. No. 1-11). Proposed Intervenors agree.

       Intervention by Proposed Intervenors is necessary to protect their interests and to ensure

that 340B hospitals have adequate access to 340B drugs at the statutorily imposed discount price

so that they can continue to provide high quality medical care to their underserved patients and

communities. Intervention is particularly important here during the current change of




1
    340B Health, Drugmakers pulling $8 Billion Out of Safety-Net Hospitals, (July 2023)
https://www.340bhealth.org/files/Contract_Pharmacy_Financial_Impact_Report_July_2023.pdf
(last accessed Jan. 29, 2025); 340B Health, UPDATED: Drugmakers Cutting 340B Discounts
Reported      Record     Revenues      in    2021, 340B     Health    (Jan.    13,     2023)
https://340binformed.org/2023/01/updated-drugmakers-cutting-340b-discounts-reported-record-
revenues-in-2021/ (last accessed Jan. 29, 2025).
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administration because during such changes administrative agencies and the Justice Department

typically re-evaluate the positions they have previously taken administratively or in litigation.2

       Proposed Intervenors are also prepared to address why J&J’s assertions regarding

widespread 340B program abuse and non-compliance are inaccurate, as well as complicated

accounting issues that J&J raises in its complaint, such as the central differences between J&J’s

rebate program and the inventory replenishment model currently used by many 340B hospitals.

Proposed Intervenors have experience and data to support those arguments that the Government

Defendants do not have access to.

       Proposed Intervenors have standing to intervene because 340B Health’s members,

including the Proposed Hospital Intervenors, will be significantly harmed by the time and expenses

incurred if they are forced to comply with Plaintiff’s proposed rebate model, and because of the

harm that the shortage of funds will cause their patients and the communities they serve. For

example, as explained in more detail below, if J&J is permitted to implement its proposed rebate

model, Proposed Intervenor UMass estimates that to receive 340B rebates it would be forced to

divert nearly $400,000 from its annual operating budget just to comply with J&J’s rebate

requirements, which would significantly undercut its ability to support crucial community services

and drug discounts to eligible patients. Desai Declaration at ¶ ¶ 16, 21.

       As demonstrated below, Proposed Intervenors plainly meet the standard for intervention of

right. Alternatively, Proposed Intervenors meet the standard for permissive intervention.




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     Proposed Intervenors are not aware that the new Administration is contemplating a change in
its ruling on the J&J petition, but they are familiar with numerous policy changes that have been
made by new administrations.
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                                        BACKGROUND

       In July 2024, J&J met with HRSA to discuss its plans to implement a rebate model for two

of its most expensive drugs, replacing the upfront discounts that it had provided to 340B hospitals

since the beginning of the 340B Program. See Letter from Perry E. Knight, Vice President, Law –

Strategic Customer Group, Johnson & Johnson, to Rear Admiral Krista M. Pedley, Director, Office

of Special Health Initiatives, HRSA, et al. (July 31, 2024) (Dkt. No. 1- 4). On August 14, 2024,

HRSA informed J&J that J&J lacked the authority to adopt a rebate model without HRSA’s prior

approval. Letter from Chantell V. Britton, Director, Office of Pharmacy Affairs, HRSA, to Perry

E. Knight, Vice President, Law – Strategic Customer Group, Johnson & Johnson (Aug. 14, 2024)

(Dkt. No. 1-5). HRSA further informed J&J that because the HHS had not approved J&J’s

proposed rebate model, implementation of that model would be inconsistent with 340B statutory

requirements. Id. Nevertheless, on August 23, 2024, J&J announced that it would begin imposing

a rebate model on October 15, 2024. See E-mail from Perry E. Knight, Vice President, Law –

Strategic Customer Group, Johnson & Johnson, to Chantell V. Britton, Director, Office of

Pharmacy Affairs, HRSA (Aug. 22, 2024 7:19 PM) (Dkt. No. 1-7).

       That significant change to the 30-year-old program was met with understandable alarm

from 340B hospitals. A program that requires 340B hospitals to pay the full price for 340B drugs

and then wait to possibly be reimbursed for the discounts to which they are entitled will have

significant, adverse effects on 340B hospitals. This, in turn, will harm their patients. The adverse

impact of the rebate program is enhanced by the evaluation process that J&J proposes to establish.

There are no federal rules governing how manufacturers must operate a rebate program for 340B.

That absence would permit drug manufacturers, such as J&J, to apply criteria based on the

manufacturer’s, and not HRSA’s, interpretations of 340B rules and thereby deny legitimate claims.


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        If J&J is free to make its own determinations regarding 340B compliance, J&J’s appeal

process offers no assurances to 340B hospitals that improper denials of their claims will be

reversed. In addition, there is no assurance that J&J’s decisions on appeal will be unbiased, as J&J

has every incentive to find a basis for denying claims in order to increase the revenue it receives

for crucial 340B drugs.

        The Proposed Hospital Interveners have reviewed J&J’s proposed rebate model (to the

extent it is publicly available) and have estimated the impact that rebate model will have on the

communities and patients they serve. For example, Proposed Intervenor UMass currently uses

savings from the 340B Program to fund free care to low income patients and several community

services, including a program that provides free prescription medications to uninsured patients; a

program that provides mental health counseling to adolescents; the Ronald McDonald Care Mobile

Clinic, which provides free health care and dental services to medically under-served populations;

the Road to Care Mobile Addiction Team, which provides health services at sites frequented by

the homeless; and programs that provide post-acute medical care and social support to individuals

experiencing homelessness once they are discharged from the hospital and to children who have

suffered from abuse and neglect. Desai Declaration at ¶ ¶ 8-12. However, should UMass be forced

to comply with J&J’s proposed rebate model, its ability to financially support those programs will

rapidly deteriorate. Id. at ¶ 21.

        UMass calculates that it will need to reallocate over $400,000 annually that it currently

uses to support these programs in order to comply with J&J’s current proposed rebate model. Id.

at ¶ 16. Those funds will be used to hire and train a new employee who will be tasked solely with

collecting the data that J&J’s proposed rebate model requires, submitting rebate claims,

reconciling payments, disputing denied rebates, and performing monthly financial reporting. Id. at

                                                 6
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¶ 17. The diverted funds will also be used to cover legal fees incurred for legal compliance

consultations and challenging any disputed claims through HHS’s 340B ADR Process and the

federal courts. Id. at ¶¶ 18, 20. However, UMass may very well spend more than $400,000 if J&J

denies legitimate rebate claims, a likely possibility given the lack of transparency regarding the

criteria J&J would use to approve or deny claims. UMass estimates that it would need to pay an

additional $24 million annually to purchase STELARA and XARELTO at full price upfront. If

J&J improperly denies a number of rebate claims, UMass will be significantly financially harmed.

        Furthermore, should J&J be permitted to proceed with its proposed rebate model, it is

almost certain that the entire 340B Program will shift to a rebate model. If that occurs, UMass

predicts that it will have to eliminate several of the community programs it provides; even if all

the drug manufacturers provide rebates on all 340B claims (a dubious position at best),3 the cost

of providing the cash upfront would severely impact the programs UMass currently provides to

vulnerable patients and underserved communities. Id. at ¶ 21.

        Similarly, Proposed Intervenor Genesis funds several community health programs using

savings earned through the 340B Program, such as its 340B Patient Assistance Program, which

provides discounts on necessary medications, including STELARA and XARELTO, to eligible

patients in underserved communities; a shuttle service that is provided free of charge to patients

who have no means of transportation to and from the hospital; an initiative that provides proactive

in-home visits to high-risk, vulnerable patients; and its Meds to Bed Program, which facilitates

patient access to medication following release from the hospital. Carr Declaration at ¶¶ 5-7.

Genesis also funds several other programs with 340B savings, including stroke prevention



3
    Like J&J’s, the criteria that other drug companies would use to approve or deny 340B rebate claims are unclear.
Moreover, to receive a rebate, Sanofi would require hospitals to meet criteria that would be in addition to HRSA’s
requirements that hospitals must meet under the agency’s 1996 patient definition guidelines.
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programs, smoking cessation counseling, and free mammograms to eligible community members.

Id. at ¶ 8.

        Should J&J be permitted to proceed with its proposed rebate model, Genesis predicts that

it will have to substantially reduce its 340B Patient Assistance Program, as it applies to STELARA

and XARELTO, because it will not be able to guarantee that J&J will actually provide a rebate,

resulting in the hospital having paid the full price for the drug instead of receiving the 340B

discounted price. Providing a discount without assurance that Genesis will receive the 340B

discounted price creates too large a financial risk to continue operating the 340B Patient Assistance

Program at its current level. Id. at ¶ 11. Those cuts will have an immediate, significant impact on

patients. Id. If patients no longer have access to the 340B Patient Assistance Program, they will

likely be unable to afford the regular, out-of-pocket costs, and therefore lose access to critical

drugs. Id. If the entire 340B Program converts to a rebate model, as is likely given that four other

pharmaceutical companies already have announced their intention to impose similar rebate

models, Genesis estimates that it will be required to spend an additional $5.2 million per month in

upfront costs to buy 340B drugs at full price. Id. at ¶ 15. Even if all the rebates are issued, Genesis

will still be operating at such a negative margin that it will suffer unquantifiable financial harm,

leading not only to cuts to its patient assistance and community programs but also to staff lay-offs.

Id.

        On September 17, 2024 HRSA informed J&J that its proposed rebate model violates J&J’s

obligations under the 340B statute, that HRSA expected J&J to abandon its plans to implement the

rebate model, and that implementation of the plan could subject J&J to serious potential

consequences. Letter from Carole Johnson, Administrator, HRSA, to Joaquin Duato, Chairman

and Chief Executive Officer (Sept. 17, 2024) (Dkt. No. 1-11). Further correspondence and

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meetings between J&J and HRSA followed, and ultimately, J&J informed HRSA that it was, for

the time being, forgoing implementation of its proposed rebate model. Letter from Scott White,

Chief Operations Officer, North America Innovative Medicine, Johnson & Johnson, to Carole

Johnson, Administrator, HRSA (Sept. 30, 2024) (Dkt. No. 1-12).

       On November 12, 2024, J&J filed suit in this Court against former Secretary Xavier

Becerra, in his official capacity, HHS, former HRSA Administrator, Carole Johnson, in her official

capacity, and HRSA (the Government Defendants), claiming that HRSA’s refusal to approve

J&J’s proposed rebate model violates the 340B statute and the Administrative Procedure Act. The

Complaint seeks a declaration that J&J’s proposed rebate model is lawful and an injunction

prohibiting the Government Defendants from commencing any enforcement action against J&J

relating to or arising from J&J’s implementation of its proposed rebate model.

                                          ARGUMENT

       Federal Rule of Civil Procedure 24(a)(2) provides that, on timely motion, the Court must

permit “anyone” to intervene who “claims an interest relating to the property or transaction that is

the subject of the action, and is so situated that disposing of the action may as a practical matter

impair or impede the movant’s ability to protect its interest, unless existing parties adequately

represent that interest.” Karsner v. Lothian, 532 F.3d 876, 885 (D.C. Cir. 2008) (quoting Fed. R.

Civ. P. 24(a)) (internal citations omitted). Federal Rule of Civil Procedure 24(b) provides, “on

timely motion, the Court may permit anyone to intervene who…. has a claim or defense that shares

with the main action a common question of law or fact.” See also E.E.O.C. v. Nat'l Children's Ctr.,

Inc., 146 F.3d 1042, 1045 (D.C. Cir. 1998) (quoting Fed. R. Civ. P. 24(b)). Proposed Intervenors

meet both standards.




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I.     Proposed Intervenors Have a Right to Intervene Under Rule 24(a)

       To intervene as of right in the D.C. Circuit, four prerequisites must be met: “(1) the

application to intervene must be timely; (2) the applicant must demonstrate a legally protected

interest in the action; (3) the action must threaten to impair that interest; and (4) no party to the

action can be an adequate representative of the applicant's interests.” Karsner, 532 F.3d at 885

(internal citations omitted); see Roane v. Leonhart, 741 F.3d 147, 151 (D.C. Cir. 2014) (“A district

court must grant a timely motion to intervene that seeks to protect an interest that might be

impaired by the action and that is not adequately represented by the parties.”).

       In addition to satisfying those four factors, “a party seeking to intervene as of right must

demonstrate that it has standing under Article III of the Constitution.” Fund For Animals, Inc. v.

Norton, 322 F.3d 728, 731–32 (D.C. Cir. 2003) (collecting cases).

       A.      Standing

       “To establish standing under Article III, a prospective intervenor — like any party — must

show: (1) injury-in-fact, (2) causation, and (3) redressability.” Id. at 733 (citing Lujan v. Defenders

of Wildlife, 504 U.S. 555, 560–61 (1992)). When, as here, a “party seeks to intervene as a defendant

to uphold an action taken by the government,” the proposed intervenor “must establish that it will

be injured in fact by the setting aside of the government's action it seeks to defend, that this injury

would have been caused by that invalidation, and the injury would be prevented if the government

action is upheld.” MGM Glob. Resorts Dev., LLC v. United States Dep't of the Interior, No. CV

19-2377 (RC), 2020 WL 5545496, at *3 (D.D.C. Sept. 16, 2020) (internal citations omitted)

(collecting cases).

       Proposed Intervenors easily satisfy the standing requirements. Proposed Intervenor 340B

Health is the leading 340B advocate for 340B hospitals on federal legislative and regulatory issues


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related to 340B drug pricing. Testoni Declaration at ¶ 3. 340B Health is uniquely positioned to

participate in this lawsuit, both because it represents 1,600 340B hospital members across the

country, and because it has been at the forefront of all efforts to ensure that 340B hospitals can

continue to access the benefits of the 340B drug discount program, including by participating in

related lawsuits. Id. at ¶ 4. For example, 340B Health was party to the lawsuit filed in this district

seeking to require HHS to issue regulations implementing the Congressionally established civil

money penalties. American Hosp. Ass’n v. HHS, No. 1:18-cv-2112; Testoni Declaration at ¶ 4.

340B Health was also party to a lawsuit filed in the Northern District of California seeking to

require HHS to prohibit drug companies from refusing to sell drugs at 340B prices to hospitals that

contracted with community pharmacies to distribute their drugs. American Hosp. Ass’n v. HHS,

No. 4-20-cv-00805; Declaration at ¶ 4.4

       340B Health has standing as an association representing over 1,600 340B hospitals, all of

which purchase 340B drugs and will therefore be impacted by J&J’s proposed rebate model. “An

association has standing to bring suit on behalf of its members when its members would otherwise

have standing to sue in their own right, the interests at stake are germane to the organization's

purpose, and neither the claim asserted nor the relief requested requires the participation of



4
    After HHS adopted the position advocated by 340B Health in the community pharmacy lawsuit
that drug companies were required to sell drugs at 340B prices to hospitals that contracted with
community pharmacies, 340B Health continued to advocate for 340B hospitals. 340B Health
participated as one of several amici supporting HHS in six lawsuits filed by drug companies in an
attempt to restrict the covered entities use of community pharmacies to dispense drugs to 340B
patients. Testoni Declaration at ¶ 4. And 340B Health is currently participating as an amicus
supporting State Attorneys General in cases challenging state laws designed to ensure that 340B
hospitals may use community pharmacies to dispense drugs to 340B patients. Id. To date, 340B
Health has joined twenty-four amicus briefs in those cases. Id. However, as discussed below, 340B
Health has determined that participation as an intervenor in the present case is necessary because
the current change in administration causes uncertainty regarding the legal positions that the
Government Defendants may take as the litigation proceeds.
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individual members in the lawsuit.” Friends of Earth v. Haaland, No. CV 21-2317 (RC), 2021

WL 5865386, at *2 (D.D.C. Dec. 11, 2021) (quoting Friends of the Earth, Inc. v. Laidlaw Env't

Servs. Inc., 528 U.S. 167, 181 (2000)). 340B Health’s mission is to support 340B hospitals in their

mission to serve low income, underserved, and rural patients. Testoni Declaration at ¶ 3. The

interest at stake in this litigation—the process by which 340B hospitals access drugs at a

discounted price—is plainly relevant to 340B Health’s goal of supporting 340B hospitals.

       The hospital members of 340B Health, including Proposed Hospital Intervenors UMass

and Genesis, also clearly have standing to sue. Should this Court set aside HRSA’s denial of J&J’s

proposed rebate model, allowing J&J to implement its plan, these hospitals will be forced to incur

significant expenses. Even assuming J&J complies with its obligations under its proposed rebate

model, UMass predicts that it will need to spend over $400,000 per year to simply comply with

J&J’s proposed rebate model’s requirements. Desai Declaration at ¶ 16. Genesis predicts that it

will need to spend over $200,000 per year just to comply, in addition to legal fees. Carr Declaration

at ¶ 14. Both hospitals will need to hire new fulltime employees to collect the newly required data,

submit rebate claims, and track and validate receipt of rebates. Desai Declaration at ¶ 17; Carr

Declaration at ¶ 14. Those administrative costs alone will force UMass and Genesis to reconsider

their ability to fund the critical services they currently operate, harming not only vulnerable

individual patients, but also their local, underserved communities. Additionally both expect to

incur significant legal costs should they need to challenge an improper claim denial through

HRSA’s ADR process. Desai Declaration at ¶ 17; Carr Declaration at ¶ 14.

       Those costs assume that J&J complies with its obligations under the rebate model.

However, both UMass and Genesis are extremely concerned that J&J will improperly deny rebates.

Desai Declaration at ¶ 22; Carr Declaration at ¶ 10. If J&J’s rebate model is approved, in addition

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to the administrative costs, UMass will need to spend an additional $24 million a year to purchase

STELARA and XARELTO at full price, Desai Declaration at ¶ 22, and Genesis will need to spend

an additional $300,000 a year to purchase those drugs with no assurance that the additional

amounts will be reimbursed through rebates. Carr Declaration at ¶ 10.

       Those costs would be directly traceable to whether this Court permits J&J to go forward

with its rebate program. Without a favorable decision by this Court, under HRSA’s current policy,

J&J will not be permitted to impose its rebate model on 340B hospitals, and 340B hospitals will

be able to continue their participation in the 340B program without incurring the additional time,

expense, and uncertainty as to when or whether they will be reimbursed. Importantly, if J&J is

permitted to implement its rebate policy, the additional time and cost associated with its program

will undeniably multiply because J&J will almost certainly expand its proposed rebate model to

other drugs and other drug manufacturers will be emboldened to adopt their own rebate models.

In fact, after J&J announced its proposed rebate model, four other drug manufacturers quickly

announced their intention to impose a similar rebate model, and some of those proposed models

would apply to all of the manufacturers’ drugs. Just as one drug company’s contract pharmacy

restrictions expanded to all of that company’s drugs and led thirty-eight other drug companies to

impose similar restrictions four and a half years ago, J&J’s proposed rebate model is likely to

expand across the 340B program should this Court allow it to proceed. See supra n. 1.

       Should the entire 340B Program begin to function as a rebate model, the costs to 340B

hospitals would be massive. UMass predicts that it likely will be unable to continue funding some

or all of its community programs, Desai Declaration at ¶ 23, and may even be unable to stay afloat

depending on reimbursement by governmental payers, which represent almost 70% of its patients.

Under those conditions, Genesis estimates that it will need to spend an additional $5.2 million per

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month to purchase 340B drugs at their full price upfront. Carr Declaration at ¶ 15. That additional

cost, even if it is eventually reimbursed through a rebate, will create such a negative margin that

Genesis predicts that it will have to cut its 340B Patient Assistance and Meds to Bed Programs,

significantly impacting some of the most underserved individuals, and likely leaving many of those

individuals without access to critical medications. Id. at ¶¶ 15-16.

         As such, Proposed Intervenors plainly have standing to sue.

         B.       Timeliness

         “The timeliness of a motion to intervene is ‘to be judged in consideration of all the

circumstances.’” Roane, 741 F.3d at 151 (quoting Smoke v. Norton, 252 F.3d 468, 471 (D.C. Cir.

2001)). To evaluate timeliness, “courts should take into account (a) the time elapsed since the

inception of the action, (b) the probability of prejudice to those already party to the proceedings,

(c) the purpose for which intervention is sought, and (d) the need for intervention as a means for

preserving the putative intervenor’s rights.” WildEarth Guardians v. Salazar, 272 F.R.D. 4, 12

(D.D.C. 2010); see Karsner, 532 F.3d at 885. However, the “most important consideration in

deciding whether a motion for intervention is untimely is whether the delay in moving for

intervention will prejudice the existing parties to the case.” Roane, 741 F.3d at 151. That

consideration is paramount because “the requirement of timeliness is aimed primarily at preventing

potential intervenors from unduly disrupting litigation, to the unfair detriment of the existing

parties.” Id.

         J&J filed its complaint on November 12, 2024. The Court recently issued an order granting

the parties proposed summary judgment briefing schedule and vacating the answer deadline.5 Dkt.


5
    As the Court has vacated the deadline to answer the Complaint, Proposed Intervenors have not attached a proposed
answer to this motion, which is usually required under Federal Rule of Civil Procedure 24(c). “However, courts in this
Circuit have not applied this rule particularly rigidly,” and the D.C. Circuit has expressly “noted its ‘willingness to

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No. 10. The Government Defendants’ cross-motion for summary judgment is due March 3, 2023,

which is when Proposed Intervenors’ response to Plaintiff’s motion for summary judgment would

be due if the Court grants intervention. As such, Proposed Intervenors have promptly moved to

intervene well before any defense is required to be presented in the case and are fully prepared to

comply with the current scheduling order.6 Neither plaintiffs nor defendants will be prejudiced by

intervention.

        Furthermore, given that the implementation of J&J’s proposed rebate model would

fundamentally alter the method by which Proposed Hospital Intervenors purchase 340B eligible

drugs, Proposed Intervenors’ interest in the litigation is significant, and intervention is necessary

to preserve their ability to challenge J&J’s proposed rebate model. That significant interest would

override any allegation that this Motion is delayed (though it is not). Because the Proposed

Intervenors have promptly moved to intervene and their intervention will not unduly disrupt the

litigation or prejudice existing parties, the Motion to Intervene is timely.

        C.       Interest

        The Proposed Intervenors must also have a “legally protected” interest in the action.

Karsner, 532 F.3d at 885 (D.C. Cir. 2008).                   As the Proposed Intervenors have already

demonstrated standing, they “‘a fortiori’ ha[ve] ‘an interest relating to the property or transaction

which is the subject of this action.’” Crossroads Grassroots Pol'y Strategies v. Fed. Election

Comm'n, 788 F.3d 312, 320 (D.C. Cir. 2015) (quoting Fund For Animals, Inc., 322 F.3d at 735



adopt flexible interpretations of Rule 24 in special circumstances.’” MGM Glob. Resorts Dev., LLC, No. CV 19-2377
(RC), 2020 WL 5545496, at *6 (D.D.C. Sept. 16, 2020). Because the Court has excused the Government Defendants
from filing an answer, Proposed Intervenors should also be excused from filing an answer as well. However, should
the Court direct the Proposed Intervenors to file an answer, Proposed Intervenors are prepared to comply promptly.
6
    Should the Court prefer the Proposed Intervenors to file their motion for summary judgment and response to
Plaintiff’s motion for summary judgment after the Government Defendants file their motion in order to avoid duplicate
arguments, the Proposed Intervenors will comply with whatever schedule the Court sets.
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(holding that the standards for constitutional standing and the second factor of the test for

intervention as of right are the same)); see e.g., Mayo v. Jarvis, No. CV 14-1751 (RC), 2015 WL

13700484, at *1 (D.D.C. Jan. 21, 2015) (collecting cases). As previously described, see Sec. I.A.,

the imposition of a rebate model would fundamentally impact the method by which 340B hospitals

purchase 340B eligible drugs and impose significant financial injury on 340B hospitals. The

Proposed Intervenors clearly have an interest in the rebate model that is the subject of this

litigation.

        D.     Interest Impaired

        To determine whether a proposed intervenor’s interests will be impaired, courts in the D.C.

Circuit consider the “practical consequences” of denying intervention and therefore denying

proposed intervenors the ability to protect their interest. Fund For Animals, Inc., 322 F.3d at 735.

The disposition of the present suit in Plaintiff’s favor would immediately adversely affect the

Proposed Intervenors. As previously described, see Sec. I.A., such a substantial change to the

status quo would force Proposed Hospital Intervenors to invest significant time and incur

substantial costs to comply with J&J’s proposed rebate program, thereby reducing the hospitals’

funds to support patient care and services and causing harm to patients.

        In addition to the costs that would be incurred by Proposed Hospital Intervenors should the

proposed rebate model be imposed, this Court has consistently found that where, as here, “an

agency’s decision below was favorable to [the proposed intervenor], and the present action is a

direct attack on that action…the action threatens to impair the intervenor's protected interests.” S.

Utah Wilderness All. v. Haaland, No. CV 20-3654 (RC), 2021 WL 12269155, at *2 (D.D.C. July

28, 2021) (collecting cases) (alteration in the original). HRSA’s denial of J&J’s proposed rebate

model was favorable to the Proposed Intervenors, as 340B hospitals would be severely harmed if


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J&J were allowed to implement its proposed rebate model. See Sec. I.A. Plaintiff’s Complaint

directly attacks HRSA’s denial and expressly asks this Court to “declare that HRSA’s

determination… that J&J may not implement a rebate model without HRSA’s consent is arbitrary

and capricious, an abuse of discretion, and unlawful under the APA and the 340B statute.”

Complaint (Dkt. No. 1) at 49. Therefore, Proposed Intervenors’ interests will be impaired should

this Court grant judgment in J&J’s favor.

        E.      Inadequate Representation

        The Government Defendants in this lawsuit will not adequately represent Proposed

Intervenors’ interests. Courts in this circuit hold that this burden of showing inadequate

representation is “minimal,” and that a party seeking intervention of right must only make a

showing that the representation “may be” inadequate. WildEarth Guardians v. Jewell, 320 F.R.D.

1, 4 (D.D.C. 2017) (Contreras, J.) (citing Fund For Animals, Inc., 322 F.3d at 735). Generally, a

movant “should be allowed to intervene unless it is clear that the party will provide adequate

representation for the absentee.” Fund For Animals, Inc., 322 F.3d at 735.

        At the outset, the D.C. Circuit “look[s] skeptically on government entities serving as

adequate advocates for private parties,” and has “stressed that even when the interest of a federal

agency and potential intervenor can be expected to coincide, that does not necessarily mean [ ]

adequacy of representation is ensured.” Crossroads Grassroots Pol'y Strategies, 788 F.3d at 321

(alterations in the original). As such, a government entity may not adequately represent a proposed

intervenor, even when the federal agency and the proposed intervenor “undisputedly” agree that

the federal agency’s actions are lawful. Id. (citing Fund For Animals, Inc., 322 F.3d at 736).

Government representation is frequently considered inadequate because the government’s

obligation is to represent the interests of its citizens, as opposed to the interest of private parties,


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which may represent “a more narrow ‘parochial’ financial interest not shared” by those citizens.

Fund for Animals, 322 F.3d at 736–37 (quoting Dimond v. D.C., 792 F.2d 179, 192-933 (D.C. Cir.

1986)). The D.C. Circuit has therefore “often concluded that governmental entities do not

adequately represent the interests of aspiring intervenors.” Fund for Animals, 322 F.3d at 736.

        The D.C. Circuit’s concerns about the federal government adequately representing the

interests of private parties are particularly salient here. HRSA denied J&J’s request to implement

a rebate model at the end of the Biden administration. J&J filed its Complaint just a week after

Donald Trump was elected. President Trump has repeatedly made clear that his administration will

take different legal positions than the Biden administration on a variety of matters, and, while there

has been no suggestion yet that the new administration will take a different position on this matter,

there is also no assurance that it will continue to defend the instant suit nor maintain the position

that J&J’s proposed rebate model violates the 340B statute.

        Additionally, while both the Government and the Proposed Intervenors have a strong

interest in the medical care of hospital patients, the Proposed intervenors also represent the

financial interests of 340B hospitals and are in a strong position to describe both that interest and

the interests of their patients to the Court. See Sec. I.A.

        While the Proposed Intervenors fully support HRSA’s decision that J&J may not proceed

with its rebate plan, Proposed Intervenors and HRSA apparently have a different view of HRSA’s

legal authority. HRSA apparently believes that it has authority to approve a rebate model in some

circumstances (which it has never defined); Proposed Intervenors intend to present the alternative

argument that J&J’s proposed rebate model is unlawful per se, and that HRSA would have no

authority to approve any rebate plan. See Letter from Intervenor 340B’s Counsel to Carole

Johnson, Administrator, HRSA (Aug. 22, 2024). Even though the Proposed Intervenors and the

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Government Defendants currently all believe J&J’s proposed rebate model is unlawful, as the D.C.

Circuit has repeatedly acknowledged, even “‘a shared general agreement ... does not necessarily

ensure agreement in all particular respects.’” Fund for Animals, 322 F.3d at 737 (quoting Nat. Res.

Def. Council v. Costle, 561 F.2d 904, 912 (D.C. Cir. 1977) (alteration in the original). The

Government Defendants therefore cannot adequately represent the Proposed Intervenors.

       Finally, Proposed Intervenors are the only entities that can adequately describe the impact

that J&J’s proposed rebate model will have on 340B hospitals and the patients they serve. It is

clear from the face of J&J’s complaint that J&J does not understand the breadth of the benefits

provided by the 340B Program, which was enacted to not only support 340B hospitals, which are

safety nets for low income and uninsured patients, but also to help 340B hospitals fund and provide

crucial community services. As described above, the Proposed Hospital Intervenors have used

savings from the 340B Program to provide tremendous benefits to the patients and communities

they serve. Proposed Intervenors are also best equipped to address why J&J’s assertions regarding

widespread 340B Program abuse and non-compliance are inaccurate and explain in detail how the

replenishment model currently used by 340B hospitals works and why it is vastly different from

J&J’s proposed rebate model. As such, Proposed Intervenors are uniquely able to describe the

purpose and benefit of the 340B Program and articulate the real-world harm that will arise should

J&J’s proposed rebate model be approved.

       In sum, the Proposed Intervenors meet the standard for intervention of right.

II.    Alternatively, Proposed Intervenors Should be Permitted to Intervene Under Rule
       24(b).

       Proposed Intervenors also satisfy the requirements of Federal Rule of Civil Procedure

24(b). Under Rule 24(b), on “timely motion” the Court “may permit anyone to intervene” who

“has a claim or defense that shares with the main action a common question of law or fact.” Fed.
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R. Civ. P. 24(b)(1)(B). “Permissive intervention requires a showing of (1) ‘an independent ground

for subject matter jurisdiction; (2) a timely motion; and (3) a claim or defense that has a question

of law or fact in common with the main action.’” Ass'n of Washington Bus. v. United States Env't

Prot. Agency, No. 23-CV-3605 (DLF), 2024 WL 3225937, at *11 (D.D.C. June 28, 2024) (quoting

E.E.O.C., 146 F.3d at 1046).

       Proposed Intervenors easily meet these requirements. First, this is a federal-question case,

which provides the Court with an independent basis for subject matter jurisdiction. Ass'n of

Washington Bus, 2024 WL 3225937 at 11; Friends of Earth v. Haaland, No. CV 21-2317 (RC),

2022 WL 136763, at *6 (D.D.C. Jan. 15, 2022). Second, for the reasons described above, see Sec.

I.B., this motion is timely and thus will not delay the proceedings or prejudice the parties. Third,

the Proposed Intervenors ask the Court to resolve the same question that is currently in front of

it—whether the J&J’s proposed rebate model fulfills its obligations under the 340B statute.

       Accordingly, if the Court denies intervention under Rule 24(a), Proposed Intervenors

should be permitted to intervene under Rule 24(b).

                                           Conclusion

       For the foregoing reasons, Proposed Intervenors request that the Court grant their motion

to intervene of right under Rule 24(a), or, in the alternative, allow Proposed Intervenors to

intervene under Rule 24(b).




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Date: January 30, 2025                     Respectfully submitted,




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